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Am)meys cr Pfaz`)§zz;f
LEH BRUTH S HOLD]NGS, INC.

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GB`H.J

CENTRAL DISTRICT OF CALIFORNIA
§§ v s

§§CIEJMAN BROTHERS HOLD;NGS, cASE NO ' " )

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Plaintiff, CGMPLAINT
l) BREACH OF CONTRACT

VS.

 

 

 

UNITED STATES DISTRICT COURT ,. ».
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WARRANTY

3) BREACH OF CONTRACT ~
Def€ndanf~ mDEI\/H\JIFICATION
AGRBEMEN?

PMC BANCORP f/k/a
§§§§ESSIONAL MORTGAGE 2) BREACH OF EXPRESS

 

 

4) BREACH OF CONTRACT »~
SPECIFIC PER_FORMANCE

 

 

Plaintiff Lehman Brothers Holdings, Inc. (“LBHI”), by and through its

undersigned counsel, end for its complaint against defendant PMC Bancorp f}’k/a

 

 

 

 

 

 

 

 

 

 

Professional Mortgage Corp. (“PMC”), hereby and states and alleges as follows:

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COMPLAINT

 

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Cas e 2:10-cv-O7207-.]AK-P.]W Document 1 Filed 09/27/10 Page 2 of 14 Page |D #:2

NATURE ()F ACTION

1. LBHI’s Wholly owned subsidiary, Lehman Brothers Banl<, FSB y
(“LBB”) purchased a number of residential mortgage loans from PMC pursuant'to,;;r ,
one or more Written contracts LBB subsequently assigned to LBHI its rights under
those contracts LBHI discovered that PMC breached one or more of its
agreements, representations, and/or Warra'nties under the contract(s) relating to y
certain loans. By this action, LBHI seeks specific performance under the subject
contract(s) relating to certain loans or, alternatively, seeks to recover from PMC 7 _

losses incurred by LBHI relating to certain loans.

PARTIES
2. LBHI is a Delaware corporation vvith its principal place of business in”
NeW York.
3. Upon information and belief, PMC is a California corporation, With a x

principal place of business in City of Industry, California.
JURISDICTION AND VENUE
4. This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because there
is complete diversity of citizenship between LBHI and PMC, and the amount in
controversy exceeds $75,000, exclusive of interests and costs.
5. Venue is proper in this District pursuant to 28 U.S.C_ § 1391 because

Pl\/IC resides in City of Industry, California.

 

 

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COMPLAINT

Cas e 2:10-cv-O7207-.]AK-P.]W Document 1 Filed 09/27/10 Page 3 of 14 Page |D #:3

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FACTUAL ALLEGATI()NS

6. At all times relevant hereto, PMC engaged in mortgage lending,rriiajsj

Well as the sale of mortgage loans on the secondary mortgage market to investors 7

such as LBB and/or LBHI. ry f

7. ()n or about March 25, 2004, PMC entered into a Written Loan if

Purchase Agreement With LBB (“Agreement”). y

8. The Agreement Specificaliy incorporated the terms and conditions of i, r

the Seller’s Guide (“Seller’s Guide”) of Aurora Loan Services LLC (“Aurora”);

LBB’s Wholly~ovvned subsidiary, Which sets forth additional duties and obligations " y

of PMC. y

9. The Agreement and Seller’s Guide constitute a valid and enforceable 7

contract that is binding upon PMC. y

10. The Agreement and Seller’s Guide set forth the duties and obligations

of the parties With respect to the purchase and sale of the subject mortgage loans,

including but not limited to the following: (a) purchase price; (b) delivery of they

loans and attendant documentation; (c) examination of loan files; (d) underwriting;

(e) representations and Warranties concerning individual loans; and (f) remedies for
breach.

11. PMC sold a number of mortgage loans to LBB under the Agreement

and Seller’s Guide, including the certain mortgage loans set forth on Exhibit A

hereto, Which is incorporated by this reference as though ful1y set forth herein

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COMPLAINT

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12. Subsequent to such sales, LBB assigned all of its rights and remediersr` t
under the Agreement and Seller’s Guide with respect to the subject mortgage loa;jsi "
to LBHI. y y y

13. On or about August 15, 2007, PMC entered into an lndemnification fr "
Agreement (“lndemnitication Agreement”) regarding Loan Nos. ****845'¢1,*':` y
**"“*O794,and****8129. y

14. ln the lndemnification Agreement, PMC confessed liability regarding fir/5
Loan Nos. "“***8454, **`"“*0794, and **"‘*8129, formally surrendered the exclusive
right to liquidate the property securing the loan, and agreed to pay certain damages

PMC’s Breach Of Representations And/Or Warranties

15. With respect to each of the subject mortgage loans, PMC made a '
number of representations and/or warranties, including but not limited to: (a) the
validity of the loan documentation; (b) the absence of fraud relating thereto; (c) they
accuracy of information regarding borrower identity, income, employment, credit,
debt, assets, and liabilities used in making the decision to originate the mortgage
loans; (c) occupancy by the borrower of the real property securing the loans; (d) the
ownership, nature, condition, and value of the real property securing the loans; (e)
the absence of early payment defaults; (f) the absence of straw purchasers; (g)
conformance of the loans with applicable underwriting guidelines and loan program
requirements; and (h) its obligation to repurchase the loan in the event of a breach

of any representation and/or warranty

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COMPLAINT

Case 2:10-cv-O7207-.]AK-P.]W Document 1 Filed 09/27/10 Page 5 of 14 Page |D #:5

16. LBHI discovered one or more material defects in the subject loans, and
further discovered PMC had breached one or more of its representations and/or j '
warranties under the Agreement and/or Seller’s Guide. y

17. LBHI provided PMC with written notice of PMC’s breach of the
representations and/or warranties with respect to the subject loans.

18. PMC has refused or otherwise failed to comply with its obligations 7
under the Agreement and Seller’s Guide regarding the subject loans. y y

Earlv Pavment Defaults

19. The subject contract(s) specify that Pl\/IC shall repurchase mortgagedy
loans that become Early Payment Defaults. ry

20. For loans purchased pursuant to the seller’s delegated underwriting 7
authority, the loan becomes an Early Payment Default if the borrower fails to makes §
the first or second monthly payment due within 30 days of each such monthly
payment’s respective due date. 0

21. PMC received delegated underwriting authority before it sold the
subject loans.

22. As indicated on Exhibit A hereto, certain loans purchased from Pl\/IC
became Early Payment Defaults, namely Loan Nos. ****8454, >"***3863, and
***"“'8129.

23. Specifically, with respect to those three loans, the borrower(s) failed to

make the first and/or second payment within 30 days of the applicable due date(s).

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Case 2:10-cv-O7207-.]AK-P.]W Document 1 Filed 09/27/10 Page 6 of 14 Page |D #:6

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24. LBHI provided PMC with written notice concerning the Early'r
Payment Defaults and demanded that PMC repurchase those mortgage loans

25. PMC has refused or otherwise failed to repurchase the mortgage loans
or otherwise comply with its obligations under the Agreement and Seller’s Guide
with respect to the subject loans suffering from an Early Payment Default

26. LBHI, as well as its predecessors and agents, have substantially ~ '
performed any and all of their respective obligations under the Agreement and

Seller’s Guide.

FIRST CLAIM FOR RELIEF
(Breach of Contract)

27 . LBHI incorporates the foregoing allegations as though fully set forth
herein y

28. PMC has breached the Agreement and Seller’s Guide by: (a) breaching
one or more of its agreements, representations and/or warranties; (b) refusing or
otherwise failing to repurchase the subject mortgage loans; and/or (c) refusing to
pay LBHI for losses suffered arising from or relating to the subject mortgage loans.

29. PMC’s breaches of the Agreement and Seller’s Guide have resulted in
actual and consequential damages in an amount to be proven at trial.

SECOND CLAIM FOR RELIEF
(Breach of Express Warranty)

30. LBI~H incorporates the foregoing allegations as though fully set forth

herein.

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COMPLAINT

Cas e 2:10-cv-O7207-.]AK-P.]W Document 1 Filed 09/27/10 Page 7 of 14 Page |D #:7

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31. Pl\/IC made a number of express warranties with respect to mateyjra:i,
facts concerning the subject loans, including but not limited to the warrantie;
described above. j w ry

32. The warranties contained in the Agreement and Seller’s Guide were an
essential part of the bargain j ry

33. PMC breached one or more of its warranties relating to the loans ;`;i*,
identified on Exhibit A hereto. 9 y

34. LBHI provided PMC with written notice concerning PMC’s breachesi~ riii/ir
of its express warranties k y

35 . PMC has refused or otherwise failed to remedy or compensate LB131

for PMC’s breaches of one or more express warranties

36. As a result of PMC’s breach of one or more express warranties

contained in the Agreement and/or Seller’s Guide, LBHI has sustained actual and '

consequential damages in an amount to be proven at trial.

THIRD CLAIM FOR RELIEF
(Breach of Contract-lndemnifrcation Agreement)

37 . LBHI incorporates the foregoing allegations as though fully set forth

herein.

38. The lndemnifrcation Agreement constitutes a valid and enforceable

contract that is binding upon PMC.

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COMPLAINT

Casle 2:10-cv-O7207-.]AK-P.]W Document 1 Filed 09/27/10 Page 8 of 14 Page |D #:8

39. PMC has liability under the lndemnification Agreement for Loan NQ'S_':":,
****8454, **'**0794, and ***"'*8129 and has agreed to pay certain damages ll y
40. As a result of PMC’s breach of the lndemnification Agreement, LB111
has sustained actual and consequential damages in an amount to be proven at trial if

FOURTH CLAIM FOR RELIEF
(Breach of Coritract - Specific Performance)

41. LBHI incorporates the foregoing allegations as though fully set forthr}§"
herein. ry ry
42. PMC has breached the Agreement and Seller’s Guide by: (a) breaching`: ry
one or more of its agreements representations and/or warranties; and (b) refusing%i
or otherwise failing to repurchase the subject mortgage loans y
43. Pl\/IC specifically agreed to the remedy of repurchase
44. Due to the unique and specific nature of the mortgage loans and the j

underlying real property securing the loans, LBHI currently has no adequate

 

remedy at law for redress of PMC’s breaches and its obligation to repurchase loans
45. LBHI is therefore entitled to an Order of this Court requiring specific
performance by Pl\/IC of its repurchase obligations under the Agreement and
Seller’s Guide.
RELIEF REOUESTED
WHEREFORE, LBHI respectfully requests that this Court enter judgment in

its favor against PMC as follows:

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COMPLAINT

Case 2:10-cv-O7207-.]AK-P.]W Document 1 Filed 09/27/10 Page 9 of 14 Page |D #:9

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(a) F or all damages and/or losses arising from or relating to PMC’s brear:;`hir
of contract, in an amount to be proved at trial ;

(b) F or all damages and/or losses arising from or relating to PMC’s breach_; tr
of Warranties, in an amount to be proven at trial 5 y y

(c) For all damages and/or losses arising from or relating to PMC’s breach y
of the lndemnitication Agreement, in an amount to be proven at trial; y ij

(d) F or an Order from this Court directing PMC to repurchase tho'g,'éi
mortgage loans set forth on Exhibit A for Which repurchase is
available; y y

(e) F or recoverable interest;

(D For the costs and expenses of suit incurred herein, including, but noti"
limited to, attorney fees, costs, and expert Witness expenses; and,

(g) F or such other and further relief as this Court deems just and proper.

JURY DEMAND
Plaintit`t` demands a trial by jury herein on all issues so triable.
DATED: September 27, 2010

FOSTER GRAHAM
l\/llLSTEIN & CALISHER, LLP

Daniel K. Calisher

Az‘z‘orneys or Plaz`néz`f
LEHW BROTH S HOLD]NGS, ]NC_

 

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COMPLAINT

 

 

 

 

 

 

 

 

 

 

Case 2:10-cv-O7207-.]AK-P.]W Document 1 Filed 09/27/10 Page 10 of 14 Page |D #:10

Lehman Brothers Ho[dz`ngs, ]nc., v. P./l/IC Bancorpf/k/a P)"o]?zSSZ`OI/zal rllortgage Corp.

 

 

 

Exhibit A
Loan Number Basis of Claim
l. ****8 l 52 Misrepresentation - First Party

Fraud, lncome, Employment,
Occupancy; and any other
discovered breach

 

 

2. Loan No. 32403 065 - new Misrepresentation - First Party
Loan No. 124895608 Fraud, lncome, Employment,
Occupancy; and any other
discovered breach

 

 

 

* * * * 3 193 Misrepresentation ~ Debts; and
t any other discovered breach
4. Loan No. 31013857 ~ new Misrepresentation ~

b~)

 

 

 

 

 

 

 

 

 

 

 

Loan No. 1248955 l7 Occupancy; and any other
discovered breach
5. ****8454 Early Payment Default; and any
other discovered breach
6. * * * *0794 Misrepresentation ~ Debts; and
any other discovered breach
7. ****8330 l\/lisrepresentation ~ lncome and

employment; and any other
discovered breach

 

 

 

8. * "‘ * *25 82 Misrepresentation - Value

9. * * * *6622 Misrepresentation - lncome and
employment

lO. * * * *3 863 Misrepresentation -

Occupancy; Early Payment
Default; and any other
discovered breach

l l. ****8l29 Early Payment Default; and any
other discovered breach

 

 

 

 

 

 

 

l O
EXHIBIT A

Case 2:10-cv-O7207-.]AK-P.]W Document 1 Filed 09/27/10 Page 11 of 14 Page |D #:11

UNITED STATES DISTRICT C()URT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNI’§`ED STATES MAGISTRATE JUDGE FGR DISCOV"ERY

'l`his case has been assigned to District lodge Stephen V. Wilson and the assigned
discovery Magistrate ludge is Patricl< J. Walsh.

The case number on all documents filed With the Court should read as fo§lows:

CV}.O~ 7207 SVW (.PJWX)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate lodge

NOT!CE TC) COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
i?led, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the foiiowing location:

{)(] Western Division Southem Division Eastern D§vision
312 N. Spring St., Rm. 6-8 411 West Fourth S£., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 99012 Santa Ana, CA 92701-4516 Rivers§de, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

C\/~18 (03/06) NOT!CE OF ASS¥GNMEN'!' TO UNITED STATES MAGISTRATE JUDGE FOR DlSCOVERY

Case 2:10-cv-O7207-.]AK-P.]W Document 1 Filed 09/27/10 Page 12 of 14 Page |D #i12

Reilly Pozner, LLP y 4 3 7 w
Michael A. Rollin (#25l557) g \
mrollin@rplaw.com '
515 South Flower Street, 36th Floor

Los Angeles, California 9007i

Telephone: 2l3~236-3576 / Fax: 2l3~236-357O

 

 

 

 

 

 

UNITED STATES I)ISTRICT COURT
CENTRAL DISTRICT OF CALIFOR;NIA

LEHMAN BROTHERS HOLDINGS INC. CASE NUMBER

 

PLAiNrrrr-`(s)
V.

   

 

PMC BANCORP, f/lc/a PROFESSIONAL
MORTGAGE CORP.

DEFENDANr(s;,

 

 

TO: DEFENDANT(S): PMC BANCORP §/l</a PROFESSIONAL MORTGAGE CORP.
A lawsuit has been filed against you.

Within m_?_=_t__“ days after service oftliis sumnons on you (not counting the day you received it) you
must serve on the plaintiff an answer to the attached M/ complaint 53 amended complairit
l:l counterclaim ij crossclaim or a motion under Rule 12 ofthe Federai Rules of Civii Procedure. 'lhe answer
or motion must be served on the plaintist attorney, Michael A. Rollin Wh@g@ address is
515 South § lower Street. 36th Floor, Los Angeies, Caliform`a 9007l __§`ygu 131110 do 50
judgment by default will be entered against you for the relief demanded in the complaint You also must tile >
your answer or motion With the court

Clerk, U.S. District Court

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IMTIFFS (checr- im tryon are repair-cmng yoursetri:i> DEFENDANTS
LEHMAN BROTHERS HOLDFNGS, INC. PMC BANCORP, mile PROFESS]ONAL MORTGAGE CQR_p_

 

 

(b) Anomcys (Firm Nnmc, Addrcss and Telephonc Nnmber. If you are representing Atlomeys (ii`Kno\\/n)
yonrsclf, provide same.)

 

 

 

 

Daniel K. Calisher (#181821) joseph A‘ Wagkcr (¢,)947;_23)
Fostcr Graham Milsze§n & Calishcr, LLP Thg walker LBW Firm, P_C_
621 Sevcntcenth StreeL 19th Floor, Dcnver, CO 80293 303-333-9810 1301 gmc ggm, gmc 730, Newpon acach’ CA 92560 949_752_2522
H. BAS!S OF JURISDICTION (Place an X in one box oniy.) I£I. CITIZENSHIP ()F PRINCIPAL PARTIES ~ For Divcrsity Cascs Only
(Place an X in one box for plaintiffand one for defendant.) .
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IV. ORIGIN (Plnce an X in one box only.)

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V. REQUES'§`ED !l\’ COMPLAINT: JUR¥ DEMAND: E(Yes D No (Check `Yes’ on§y if demanded in complaint.)
chase AcrroN under r.rt c.P. 23: o res olin o Moi~;ay DEMANDED m coMPLAiNr; s fn excess of$'/S,OO0.0D

VI. CAUSE DF ACT}ON (Cilc the U.S. Civil Statute under which you are filing and write a brief statement ofcause. Do not citejurisdicliona[ statutes unless diversity.)

28 USC § 1332
VII. NA'IURE OF SUIT (Placc an X in one box oniy.)

 

  
  

    
     

            

   
         
    
    

 

 
     
   

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CIVIL COVER SHEET

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VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed remanded or closed? [l No E(Yes
lfyes, list case number(s): CV-O9-3829 (RGK)

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? l!(No l:l Yes
Ifyes, list case number(s):

 

Civil cases are deemed related ita previously filed case and the present case:
(Check all boxes that apply) [l A. Ar)'se from the same or closely related transactions, happenings, or events; or
l:l B, Call for determination of the same or substantially related or similar questions oflaw and fact; or
[l C. For other reasons would entail substantial duplication oflabor ifheard by differentjudges; or
[i D, lnvolve the same patcnt, trademark or copyright, a_nd one of the factors identified above in a, b or c also is present

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; Califomia County outside of this Dlstrict; State if other than California; or Foreign Country, in which EACH named plaintiff resides
l:l Check here if the government, its agencies or employees is a named plaintiff if this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, ifother than Califomia; or Foreign Country

 

Lehman Brothers Holdings, lnc. - New York and Delaware

 

 

(b) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides
l:l Check here if the government, its agencies or employees is a named defendant lf this box is checked, go to item (c).

 

County in this District:* Callfornia County outside of this District; State, if other than Califomia; or Foreign Country

 

PMC Bankcorp f/k/a Professional Mortgage Corp. - Los Angeles County

 

(c) List the County in this District', California County outside ofthis District; State if other than Caliform`a; or Foreig,n Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract ofland involved.

 

County in this District:* Cali`fornia County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles County

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases. use the location of thearract of land involved

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X. sIGNATURE oF ATTORNEY (OR PRo PER): /A 5§}§,4'.!,§ l/<‘ M pate S€Pt€mb€r 27, 2010

Notice to Counsel/Parties: The CV~71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3~l is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (F or more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cascs:

Nature of Suit Code Abbreviation Substantive Statement of Causc of Action

861 HlA All claims for health insurance benefits (Medicare) under Title 18> Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 U.S.C. l935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 ofthe Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability (42 U.S.C. 405(§))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 ofthe Social Security
Act, as amended (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 ofthe Social Security
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U.S,C. (g))

 

CV-7l (()5/08) CIVIL COVER SHEET Page 2 on

 

